Js 44 (Rev. 3/13)

lace nor supplement the filing and service of pleadings or other papers as re uired by law, except as
nited States in

Case: 1:18-Cv-03632 Do@i%it &é§tc‘e§ §§H:?Ell% Page 1 of 2 Page|D #:101

The JS 44 civil cover sheet and the information contained herein neither r
provided by local rules of court. This form, approved by the Judicial Co erence of the

eptember 1974, is required for the use of the lerk of Court for the

purpose of initiating the civil docket sheet (SEE 1MS'1RL/(i'11r)N.S' 0/\/ /\/EX'/' PAGE OF mls FOR M.)

 

I. (a) PLAINTIFFS

THE BO|L|NG F’O|NT7 |NC. d/b/a PEPPERCORNS K|TCHEN

(b) County of Residence of First Listed Plaintiff COOK COUnfry
(EX(V,'EPT/N U.S. Pl/ADIUFM.S'E.S')

(C) AttOrIleyS (Firm Namc, Addrc,s's', and Te/ephone Number)

Saper LaW Offices, LLC, 505 North LaSa||e, Suite 350 Chicago, |L 60654

(312-527-4100)

DEFENDANTS

PEPPERCORNS

NOTE;

Attorneys (Ime)wn)

 

K|TCHEN

County of Residence of First Listed Defendant

NAN LUO a/k/a “JUDY LUO” and FANYUAN
|NVEST|\/|ENT |\/|ANAGE|\/|ENT, LLC. d/b/a

Cook County

(lN U.S. PliA lN 71#`#` (','A.S'l~.`.§' O}\/ll Y)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

 

II. BASIS OF JURISDICTION (P/ace an 'IXdei;/i One Hr)x ()lily}

 

([~`r)r I)ive)<\‘ity Cme.v Only}

III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X"in One h’r)x_fé)r Plaimj}j"

and ()He h’()x_fé)r l)efendant}

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

l l U.S. Government ll 3 Federal Question PTF DEF PTF DEF
Plaintii`f (U.S. (iovernmenl Nol a Parly) Citizen of This State l l l Incorporated or Principal Place j 4 4
of Business ln Tbis State
l 2 U.S. Government l 4 Diversity Citizen of Another State n 2 in 2 Incorporated and Principal Plaoether S 5 n 5
Dei`endant (Indlcale ( ,`lllzcn.s'hlp QfParI/Tc.s' in Ilem III) of Business ln Another State
Citizen or Subject of a 3 l 3 Foreign Nation 6 6
Foreign Country
IV. NATURE OF SUIT (P/acc an ‘X’ in ()ne Box ()n/y)
l CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES l
El 110 Insurance PERSONAL INJURY PERSONAL INJURY El 625 Drug Related Seizure El 422 Appea128 USC 158 El 375 False Claims Act
El 120 Marine El 310 Airplane El 365 Personal Injury - of Property 21 USC 881 El 423 Withdrawal El 400 State Reapportionment
El 130 Miller Aet El 315 Airplane Product Product Liability El 690 Other 28 USC 157 El 410 Antitrust
El 140 Negotiable Instrument Liability El 367 Health Care/ El 430 Banks and Banking
El 150 Recovery of Overpayment El 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS E\ 450 Commerce
& Enforcement of Judgment Slander Personal Injury 820 Copylights El 460 Deportation
El 151 Medicare Act El 330 Federal Employers’ Product Liability El 830 Patent El 470 Racketeer lnfluenced and
El 152 Recovery of Deianlted Liability El 368 Asbestos Personal 840 Trademark Comlpt Organizations
Student Loans El 340 Marine lnjury Product El 480 Consumer Credit
(Excludes Veterans) El 345 Marine Product Liability LABOR SOCIAL SECURITY E\ 490 Cable/Sat TV
El 153 Recovery of Liability PERSONAL PROPERTY El 710 Fair Labor Standards El 861 HIA (1395ff) El 850 Securities/Commodities/
of Veteran’s Benerlts El 350 Motor Vehicle El 370 Other Fraud Act El 862 Black Lung (923) Exchange
El 160 Stockholders’ Suits El 355 Motor Vebicle El 371 Truth in Lending El 720 Labor/Managen:ient El 863 DIWC/DIWW (405(g)) El 890 Other Statutory Actions
El 190 Other Contract Product Liability El 380 Other Personal Relations El 864 SSID Title XVI El 891 Agricultural Acts
El 195 Contract Product Liability El 360 Other Personal Property Damage El 740 Railway Labor Aet El 865 RSI (405(g)) El 893 Environmental Matters
El 196 Francbise lnjury El 385 Property Damage El 751 Family and Medical El 895 Freedorn of lnformation
El 362 Personal Injury - Product Liability Leave Aet Act
Medical Malpractiee El 790 Other Labor Litigation El 896 Arbitration
l REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS El 791 Employee Retirement FEDERAL TAX SUITS El 899 Admi.nistrative Procedure
El 210 Land Condemnation El 440 Other Civil Rights El 510 Motions to Vacate lncome Security Aet El 870 Taxes (U.S. Plaintiff Aet/Review or Appeal of
El 220 Foreclosure El 441 Voting Sentence or Defendant) Agency Decision
El 230 Rent Lease & Ejectment El 442 Employment Habeas Corpus: El 871 lRS_Tbird Party El 950 Constitutionality of
El 240 Torts to Land El 443 Housing/ El 530 General 26 USC 7609 State Statutes
El 245 Tort Product Liability Accommodations El 535 Death Penalty
El 290 All Other Real Property El 445 Amer. w/Disabilities El 540 Mandamus & Other IMMIGRATION
Employment \;| 550 Civil Rights \;| 462 Naturalization Application
El 446 Amer- W/Disabilities El 555 Prison Condition El 463 Habeas Corpus -
Otber El 560 Civil Detainee - Alien Detainee
El 448 Education Conditions of (Prisoner Petition)
Conrlnement El 465 Other Immigration
Actions
V. ORIGIN (P/ac£`am't‘)(" in Om' H()X Only} _ _
l Original I:l 2 Removed from I:l 3 Ren:ianded from I:l 4 Reinstated or |:\ 5 Transterred nom El 6 Multidistn'ct
Proceeding State Court Appellate Court Reopened (A`;l;)etl;l‘;r Dlsmct Litigation

 

VI. CAUSE OF ACTION (Enier U.s. civil statute under which you are aiing and

write a brief statement of cause.)

15 u.S.C. § 1125(3) and 28 u.S.C.§1331.Sniii

 

VII. Previous Bankruptcy Matters (For nature ofsnii 422 and 423, enter the case
number and judge for any associated bankruptcy matter previously adjudicated by a judge of this Court.
Use a separate attachment if necessary.

 

 

VIII. REQUESTED IN E| cHEcK IF THIs Is A cLAss ACTION DEMAND $ CHECK YES duly if demanded in complaint
COMPLAINT: UNDER RULE 23, F-R-Cv-P- |njunctive relief and at le JURY DEMAND= lzl Yes I:l No
IX. RELATED CASE(S) v k k
IF ANY 600 ’"'Slrmm)` JUDGE DOCKET NUMBER

X. ThiS ease (check one box)

 

l:l Is not a refiling of a previously dismissed action

n is a refiling of case number

previously dismissed by Judge

 

”ATE 05/23/2018

SIGNATURE OF ATTORNEY OF RECORD

/S/ Da|iah Saper

